                    Case 4:95-cr-00123-WTM-CLR Document 1266 Filed 11/02/15 Page 1 of 1
AO 247 (10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                               Page 1 9U, (Page 2 Not for Public Disclosure)

                                                                                                                         U.
                                                                UNITED STATES DISTRICT COURT                                                                T
                                                                             for the
                                                                   Southern District of Georgia                                              PM 1,:53
                                                                       Savannah Division
                                                                                                                   CLERK DIST
                        United States of America
                                         V.
                                                                                             Case No: 4:95-CR-00123-2
                            Oscar Lee Brown, Jr.
                                                                                             USMNo: 08921-021
Date of Original Judgment:         January 9, 1996                                           Abda Lee Quillian
Date of Previous Amended Judgment: N/A                                                       Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                           Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of                fl
                               the defendant     the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § lB 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.  GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
             issued) of         months is reduced to


                                                    (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated January 9, 1996,                                shall remain in effect.
IT IS SO ORDERED.

Order Date:               Mv'. 2, Li'S                                                      ________________________________
                                                                                                                Judge 's signat


                                                                                             William T. Moore, Jr.
                                                                                             Judge, U.S. District Court
Effective Date:                                                                              Southern District of Georgia
                          (if d/ferent from order date)                                                       Printed name and title
